       Case 3:08-cr-00378-GAG            Document 111         Filed 06/25/09       Page 1 of 2



 1                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO
 2
 3    UNITED STATES OF AMERICA,
 4         Plaintiff,
 5    v.
 6                                                        CRIM. NO. 08-378 (GAG)
      AMARO-RODRIGUEZ, et al.,
 7         Defendants.
 8
 9                             MEMORANDUM OPINION AND ORDER

10            Presently before the court is defendant Angel Rosado-Calderon’s motion to supress evidence

11   (Docket No. 104), to which defendants Cristobal Baez-Roman and Angel Ramirez-Vazquez have

12   requested joinder (Docket Nos. 105 & 106). The court granted these requests (Docket Nos. 110 &

13   106) and has considered the motion. For the reasons set forth herein, the motion to supress evidence

14   (Docket No. 104) is DENIED without prejudice.

15            Under Minnesota v. Carter, 525 U.S. 83 (1998), the moving defendants do not have standing

16   to claim the protection of the Fourth Amendment with regard to the search and seizure of the vessel

17   belonging to defendant Gerardo Amaro-Rodriguez.             In order to establish that their Fourth

18   Amendment rights were violated, the moving defendants would have to demonstrate that they had

19   an individual, subjective, and legitimate expectation of privacy in Amaro’s vessel, including the

20   place where the evidence was seized, see Katz v. United States, 389 U.S. 347, 351 (1967). The

21   expectation of privacy in the home (or vessel) of another will be protected when it is based on a visit

22   which represents “a longstanding social custom that serves functions recognized as valuable by

23   society.” Minnesota v. Olson, 495 U.S. 91, 98 (1990). While overnight guests “typif[y] those who

24   may claim the protection of the Fourth Amendment in the home of another,” Carter, 525 U.S. at 91

25   (citing Olson, 495 U.S. 91 (1990)), a visit that is primarily commercial, and not social, in nature does

26   not garner the same protection, see Id. (noting that the purely commercial nature of the transaction

27   engaged in by respondents led the court to conclude that they were not entitled to the same protection

28   as the guests in Olson). Defendant Angel Rosado-Calderon stated under penalty of perjury that his
       Case 3:08-cr-00378-GAG            Document 111         Filed 06/25/09      Page 2 of 2

     Crim. No. 08-378(GAG)

 1   boss’s stated purpose for the trip to the Dominican Republic was “to find a business location to
 2   establish a branch of his business in the Dominican Republic.” (Docket No. 104-2 at 4). On the
 3   facts currently before the court, it finds that any search that may have occured did not violate moving
 4   defendants’ Fourth Amendment rights. More so, there is no dispute that the narcotics inside the
 5   vessel were found in an extremely shrouded compartment of the vessel, which was not located in
 6   any guest room. See Government’s Affidavit, Docket No. 1-2 at 2-3. None of these defendants
 7   claims a possessory or privacy interest in said compartment. If any of the defendants wants this
 8   court to reconsider its determination, they must demonstrate standing.
 9          SO ORDERED.
10          In San Juan, Puerto Rico this 25th day of June, 2009.
11                                                                     S/ Gustavo A. Gelpí
12                                                                    GUSTAVO A. GELPI
                                                                    United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                     2
